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                  EXHIBIT I
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                                         DEFENDANT'S EXHIBIT
                                             NO. 511.001
                                           United States District Court
                                          Northern District of California
                                          No. 11-CV-01846-LHK (PSG)
                                                Apple v. Samsung
                                        Date Admitted:___________By:___________
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